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                                                         U.S. Department of Justice

                                                         Andrew E. Lelling
                                                         United States Attorney
                                                         District of Massachusetts

Main Reception: (617) 748-3100                           John Joseph Moakley United States Courthouse
                                                         1 Courthouse Way
                                                         Suite 9200
                                                         Boston, Massachusetts 02210


                                                         January 13, 2021

Sandra Gant, Esq.
Assistant Federal Public Defender
Federal Public Defender Office
51 Sleeper Street, 5th Floor
Boston, MA 02210

          Re:       United States v. John Boampong
                    Criminal No. 20-cr-10321-WGY

Dear Attorney Gant:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
your client, John Boampong (“Defendant”), agree as follows with respect to the above-referenced
case:

          1.        Change of Plea

        At the earliest practicable date, but in no event later than February 8, 2021, Defendant shall
waive indictment and plead guilty to the filed Information charging him with: Count One:
Interfering with a Law Enforcement Officer During the Commission of a Civil Disorder, in
violation of Title 18 U.S.C. § 231(a)(3); Count Two: Being a Prohibited Person under Felony
Indictment in Possession of a Firearm and Ammunition, in violation of Title 18 U.S.C. § 922(n);
and Count Three: Assaulting a Federal Officer, Through the Use of a Dangerous or Deadly
Weapon, in violation of Title 18 U.S.C. § 111(a),(b). Defendant expressly and unequivocally
admits that he committed the crimes charged in the Information, did so knowingly and
intentionally, and is in fact guilty of those offenses.

       The U.S. Attorney agrees not to charge Defendant pursuant to 18 U.S.C. § 924(c) based on
the conduct underlying the crimes charged in this case that is known to the U.S. Attorney at this
time.

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                        ACKNOWLRDGMENT ORPLEA AGREEMENT
                                     in   its   entirety and discussed it with         my   attorney.   hereby
                                                                                                        I
         Ihave read this    letter

                                      sets      forth my   pleaagreement with the United States Attorney's
acknowledgethat(a)it accurately
                                                                          agreements between me and
  Ofice  forthe District of Massachusetts; (b) there are no unwritten
                                                                   United Stateshasmade any unwritten
the United States Attorney's Office; and(c)no
                                                   official of the
                                        in connection with my change       of plea. In addition, I have
 promises or representations to me,
                                                     understand the crimes to which I have agreed
                                                                                                      to
 received no prior offers to resolve this case. I
                                                                                             potentially
                                                  and the Sentencing Guidelinc penalties
 plead guilty, the penalties for those offense,
                                                 legal representation provided to me by my
                                                                                               attorney.
 applicable to them. I am satisfied with the
                                                                                     the         against
                                                                  We                     charges
  We have had sufficient time to meet and discuss my case. Agreement have  discussed
                                                      this Plea              and whether  I should go to
  me, possible defenses Imight have,the terms of
                                                freely, voluntarily, andknowingly because     Iam guilty
  trial. Iam entering into this Plea Agreement
                                                     and I believe this Plea Agreement is in my best
 of the offenses to which I am pleading      guilty

 interest.




                                                                 ohn Boampong
                                                                 Defendant

                                                                 Date:



                                                                            that we have discussed its
           Icertify that John Boampong has read this Plea Agreement and
                                                              and is entering into the Plea Agreement
   meaning. I believe he understands the Plea Agreement
                                                    that the U.S. Attorney hasnot extended any
                                                                                                 other
  freely, voluntarily and knowingly. I also certify
   offers to resolve this matter.




                                                                  Sandra Gant, Esq.
                                                                  Assistant Federal Public Defender
                                                                  Attorney   for   Defendant


                                                                 Date:        222




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